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                                                    November 19, 2024

 Honorable Margo K. Brodie
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 BY ECF

                                                    Re:    United States v. Michael Hlday
                                                           20 Cr. 008 (MKB)

 Dear Judge Brodie:

               Defendant Michael Hlday (“Hlday”) is currently scheduled for a sentencing hearing
 before the Court on December 5, 2025, and his sentencing memorandum is due on November 21,
 2024. As the Court is aware,


                            For this reason, Hlday respectfully requests an adjournment of his
 sentencing hearing to a date in late January or early February of 2025 that is convenient to
 the Court and government. The government, by Assistant United States Attorney Jonathan Lax,
 consents to this application.

               Thank you for Your Honor’s consideration of this request.

                                                    Very truly yours,
                                                    Sanford Talkin
                                                    Sanford Talkin

 cc:    AUSA Jonathan Lax (by ECF & email)
